     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 1 of 16


1

2

3

4

5

6

7

8                        UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
10
                                  ----oo0oo----
11

12   UNITED STATES OF AMERICA,               CR. NO. 2:11-101 WBS
13                Plaintiff,                 MEMORANDUM AND ORDER RE:
                                             MOTION TO DISMISS INDICTMENT
14       v.
15   NELSON MAURICIO PONCE VASQUEZ,
16                Defendant.
17

18                                ----oo0oo----
19

20             Defendant Nelson Mauricio Ponce Vasquez (“defendant”)

21   is charged with one count of distribution of at least fifty grams

22   of methamphetamine in violation of 21 U.S.C. § 841(a)(1).

23   (Docket No. 1.)   Presently before the court is defendant’s motion

24   to dismiss the Indictment for violation of his Sixth Amendment

25   right to a speedy trial.

26             The federal grand jury returned the Indictment in this

27   case on March 3, 2011, and it was unsealed on April 13, 2011.

28   (Docket Nos. 1, 10.)    Defendant was not arrested, however, until
                                         1
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 2 of 16


1    June 18, 2013, when he attempted to travel from Oakland to

2    Mexico.    Defendant contends that the passage of twenty-six months

3    between the time he was indicted and his arrest prejudiced his

4    defense in violation of his Sixth Amendment right to a speedy

5    trial and therefore mandates dismissal of the Indictment.

6               “‘The Sixth Amendment guarantees that in all criminal

7    prosecutions the accused shall enjoy the right to a speedy

8    trial.’”   United States v. Beamon, 992 F.2d 1009, 1012 (9th Cir.

9    1993) (quoting Doggett v. United States, 505 U.S. 647, 651

10   (1992)).   Speedy trial challenges are assessed under a four-part

11   balancing test that evaluates: “‘(1) whether delay before trial

12   was uncommonly long, (2) whether the government or the criminal

13   defendant is more to blame for that delay, (3) whether, in due

14   course, the defendant asserted his right to a speedy trial, and

15   (4) whether he suffered prejudice’ because of the delay.”         Id.

16   (quoting Doggett, 505 U.S. at 651).

17              1.    Length of Delay before Trial

18              Under the first factor, the defendant “must allege that

19   the interval between accusation and trial has crossed the

20   threshold dividing ordinary from ‘presumptively prejudicial’
21   delay.”    Doggett, 505 U.S. at 651-52.     “If the accused makes this

22   showing, the court must then consider, as one factor among

23   several, the extent to which the delay stretches beyond the bare

24   minimum needed to trigger judicial examination of the claim”

25   because “the presumption that pretrial delay has prejudiced the

26   accused intensifies over time.”      Id.   “Depending on the nature of
27   the charges, the lower courts have generally found postaccusation

28   delay ‘presumptively prejudicial’ at least as it approaches one
                                         2
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 3 of 16


1    year.”   Id. at 652 n.1; see also United States v. Gregory, 322

2    F.3d 1157, 1161-62 (9th Cir. 2003) (“[C]ourts generally have

3    found that delays approaching one year are presumptively

4    prejudicial.”).

5               Here, it is undisputed that the twenty-six-month delay1

6    is more than two times the threshold to show presumptive

7    prejudice and thus triggers the presumption of prejudice under

8    the first factor.    (Docket No. 93 at 7:21-24.)

9               2.     Attributing Blame for the Delay

10              “The government has ‘some obligation’ to pursue a

11   defendant and bring him to trial.”      United States v. Mendoza, 530

12   F.3d 758, 762-63 (9th Cir. 2008) (quoting United States v.

13   Sandoval, 990 F.2d 481, 485 (9th Cir. 1993)).        “[I]f the

14   defendant is not attempting to avoid detection and the government

15   makes no serious effort to find him, the government is considered

16   negligent in its pursuit.”     Id. at 763 (citing Doggett, 505 U.S.

17   at 653).   In Mendoza, the Ninth Circuit held that the government

18   was negligent when it knew the defendant lived out of the country

19   and relied exclusively on “put[ting] a warrant out on the law

20
          1
21             For the first time in his reply and relying on an
     Eleventh Circuit case, defendant contends that the eight-month
22   pre-indictment delay should be added to the twenty-six-month
     post-indictment delay, thereby resulting in a total delay of
23   almost three years. See United States v. Ingram, 446 F.3d 1332,
     1339 (11th Cir. 2006) (“[O]nce the Sixth Amendment’s speedy trial
24   analysis is triggered, it is appropriate to consider inordinate
25   pre-indictment delay in determining how heavily post-indictment
     delay weighs against the Government.”). Even assuming that the
26   Ninth Circuit would follow this approach, eight months of pre-
     indictment delay is not inordinate in this court’s experience and
27   adding pre-indictment delay without knowing the reasons for the
     delay would be inconsistent with the balancing test.
28
                                         3
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 4 of 16


1    enforcement database” without making a single attempt to contact

2    the defendant to inform him of the indictment.        Id.

3                 The second inquiry seeks to assess whether the

4    government or defendant “is more to blame for th[e] delay.”

5    Doggett, 505 U.S. at 651.     Blame is not necessarily the same as

6    negligence in the classic sense.        By employing the terms

7    “negligent” or “negligence” in the context of this analysis, the

8    court does not understand the caselaw to require a defendant to

9    show professional negligence by the government in the sense of

10   showing that law enforcement’s efforts fell below the established

11   standard of police practice in the community.        The court would

12   have to be blind to reality not to recognize that law enforcement

13   agencies must often make choices, based on limited resources, to

14   investigate some matters less thoroughly than others and search

15   less diligently for some individuals than for others.         It is not

16   for the court to fully understand or second-guess those

17   decisions.    However, what the court does understand the caselaw

18   to conclude is that when law enforcement decides not to

19   diligently search for a particular defendant, the government may

20   have to bear the responsibility for any prejudice the defendant
21   suffers as a result of that decision.

22                Here, although defendant originally argued that the

23   government failed to take any efforts to locate him after he was

24   indicted, the government submitted evidence showing otherwise.

25   Supervisory Special Agent Tehran Palmer of the Bureau of Alcohol,

26   Tobacco, Firearms, and Explosives submitted an affidavit
27   detailing the efforts made to arrest defendant.        Agent Palmer was

28   the lead agent in this case, participated in the controlled
                                         4
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 5 of 16


1    methamphetamine purchases charged in the Indictment, and led the

2    efforts to locate defendant.     (Docket No. 93-1 ¶ 3.)      Agent

3    Palmer indicates that, after the Indictment was returned on March

4    3, 2011, he placed the arrest warrant for defendant in the

5    National Crime Information Center on March 4, 2011.         (Id.)    At

6    that point, the government believed defendant lived at 1052

7    Weldon Lane, which was a unit in the Mission Bay apartments in

8    Bay Point, California.    (Id. ¶¶ 4-5.)

9              In April 2011, Agent Palmer conducted surveillance at

10   the Mission Bay apartments on six separate days from

11   approximately 6:00 to 9:00 or 9:30 a.m. and again from

12   approximately 3:00 to 6:00 p.m.      (Id. ¶¶ 5, 9.)    During the

13   surveillance, Agent Palmer did not see defendant or either of the

14   two vehicles that had been associated with him.        (Id. ¶¶ 8, 10.)

15   In May 2011, Agent Palmer conducted an updated search of

16   commercial databases to ascertain whether defendant had moved and

17   discovered a new address associated with defendant, which was

18   actually just a different unit within the same relatively small

19   apartment complex.    (Id. ¶ 11.)

20             On May 13, 2011, another agent returned to the Mission
21   Bay apartments in attempt to locate the car registered to

22   defendant, but the attempt was unsuccessful.        (Id.)   On June 30,

23   2011, defendant’s arrest warrant was entered into the TECS system

24   utilized by the United States Custom and Border Protection.          (Id.

25   ¶ 13.)   On August 3, 2011, Agent Palmer and another agent

26   returned to the apartment complex and spoke with the onsite
27   property manager, who indicated that she knew defendant’s wife

28
                                         5
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 6 of 16


1    fairly well and was familiar with the family, but would not

2    provide their apartment unit number.       (Id. ¶ 14.)

3              On August 13, 2011, Agent Palmer and other agents, for

4    the first time in uniform, attempted to arrest defendant at the

5    apartment complex at the last known unit associated with him.

6    (Id. ¶ 16.)   Agent Palmer knocked approximately six to ten times

7    and announced the police presence, but no one answered and the

8    arrest attempt was ultimately discontinued due to the lack of

9    response and lack of movement in the unit.        (Id. ¶ 18.)     On

10   September 30, 2011, Agent Palmer and another agent again

11   conducted surveillance at the apartment complex from

12   approximately 2:00 to 5:30 p.m., but did not see defendant or any

13   vehicle associated with him.     (Id. ¶ 19.)    After September 30,

14   2011, Agent Palmer ceased surveillance at the apartment complex

15   due to the prior unsuccessful efforts and because the unit

16   associated with defendant did not appear occupied.         (Id. ¶ 20.)

17             During the six-month period when the government

18   unsuccessfully attempted to locate defendant, it is undisputed

19   that he lived in a unit at the Mission Bay apartment complex.          It

20   is also undisputed that he was employed with Bayview
21   Environmental, which the government could have discovered through

22   a more thorough investigation.2     There is no evidence or

23
          2
               Defendant received his wages from Bayview Environmental
24   via check and federal income and social security taxes were
     withheld. (Docket No. 95-10 ¶ 3.)
25             Defendant was also a member of the Laborers Local Union
26   67 in 2010. The government did not discover defendant’s
     affiliation with that union until after the instant motion was
27   filed when Agent Palmer noticed for the first time that the shirt
     defendant had on in the picture from the charged drug transaction
28   had the Laborers Local Union 67 logo on it. (See Docket No. 103-
                                     6
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 7 of 16


1    suggestion that defendant was aware of the Indictment or trying

2    to evade government detection.      Despite defendant’s non-

3    clandestine lifestyle, the government was unable to locate him.

4              After September 30, 2011, the government ceased all

5    active efforts to locate defendant and relied exclusively on the

6    entry of the arrest warrant in its various databases.         When all

7    of the records in the government’s possession indicated that

8    defendant lived in a relatively small apartment complex and the

9    onsite manager of that complex confirmed with the agents that

10   defendant lived there, ceasing its efforts to locate defendant

11   after only nine visits to the complex during daytime hours cannot

12   be considered diligent.     If federal law enforcement had elected

13   to allocate sufficient resources to search for defendant, it

14   would be shocking to imagine that they could not have located him

15   when they knew where he lived and he maintained a regular job.

16             For approximately twenty months, however, the

17   government did not make a single effort to locate defendant.            He

18   was arrested on June 17, 2013 only because his scheduled flight

19   to Mexico flagged him in the TECS system.       (Id. ¶ 21.)       The Ninth

20   Circuit has held that such a passive investigation relying only
21   on entry of the arrest warrant in a government database is not

22

23
     1.) Defendant argues that the government could have noticed the
24   logo in the picture back in 2010 and contacted the union to
25   determine defendant’s place of employment. (See Docket No. 104-1
     ¶¶ 2-4.) These efforts would have unquestionably been superior
26   detective work that one would hope to see from the government.
     Nonetheless, Agent Palmer’s oversight of the small union logo on
27   defendant’s shirt does not, in itself, show that the government
     was not diligent in its search for defendant.
28
                                         7
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 8 of 16


1    diligent.   See Mendoza, 530 F.3d at 763; see also Beamon, 992

2    F.2d at 1013.

3                For all of the foregoing reasons, in assessing the

4    relative blame for the delay in arresting defendant after

5    indictment, none of that blame can be assessed to the defendant.

6    There is no reason to believe he knew of the Indictment or took

7    any action to avoid arrest or detection.       To the contrary, all of

8    the blame for the delay lies exclusively with the government.

9    Despite knowing the complex where defendant lived, it ceased all

10   efforts to locate him and simply put the case on the back burner.

11               3.   Defendant’s Assertion of his Right to a Speedy

12                    Trial

13               The third factor evaluates whether the defendant has

14   asserted his right to a speedy trial.       The Supreme Court has

15   noted that the “defendant’s assertion of his speedy trial right[]

16   is entitled to strong evidentiary weight in determining whether

17   the defendant is being deprived of the right.”        Barker v. Wingo,

18   407 U.S. 514, 531 (1972); see also Barker, 407 U.S. at 532

19   (“[F]ailure to assert the right will make it difficult for a

20   defendant to prove that he was denied a speedy trial.”).          The
21   “strength of [a defendant’s] efforts” in asserting his right to a

22   speedy trial “will be affected by the length of the delay, to

23   some extent by the reason for the delay, and most particularly by

24   the personal prejudice, which is not always readily identifiable,

25   that he experiences.”    Id. at 531.

26               Here, there is no evidence that defendant was aware of
27   the Indictment prior to his arrest, thus he cannot be faulted for

28   failing to seek a speedy trial prior to his arrest.         Cf. Doggett,
                                         8
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 9 of 16


1    505 U.S. at 653 (indicating that the “third factor, concerning

2    invocation of the right to a speedy trial, would be weighed

3    heavily against” the defendant if the defendant “knew of his

4    indictment years before he was arrested”).        After he was

5    arraigned on June 25, 2013, (Docket No. 66), the government and

6    defendant jointly requested two continuances of the October 16,

7    2013 trial date, which had been set for co-defendant Dionisio

8    Robles Padilla prior to defendant’s arrest.        (Docket Nos. 71, 73,

9    88, 89.)   In United States v. Corona-Verbera, the Ninth Circuit

10   concluded that, because the defendant asserted his right to a

11   speedy trial after requesting eight continuances, the third

12   factor “weighs neither in favor of dismissal nor in favor of the

13   government.”   509 F.3d 1105, 1117 (9th Cir. 2007).        Here, the

14   government does not argue that defendant failed to assert his

15   right to a speedy trial, but contends this factor is essentially

16   a wash because defendant sought continuances.

17              Although defendant did not file this motion asserting

18   his constitutional right to a speedy trial until 210 days after

19   his arraignment and after seeking two continuances, defendant’s

20   counsel points out that the motion was filed immediately upon
21   learning that defendant suffered prejudice from the delay because

22   certain phone records were unavailable due to the lapse of time.

23   See Barker, 407 U.S. at 532.     Under these facts, the court finds

24   that defendant sufficiently asserted his right to a speedy trial,

25   and his assertion “is entitled to strong evidentiary weight in

26   determining whether [he] is being deprived of the right.”         Id. at
27   531.

28
                                         9
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 10 of 16


1               4.    Actual Prejudice

2               “Traditionally, actual prejudice can be shown in three

3    ways: oppressive pretrial incarceration, anxiety and concern of

4    the accused, and the possibility that the accused’s defense will

5    be impaired.”    Beamon, 992 F.2d at 1014.      Defendant does not

6    claim prejudice under either of the first two categories.

7    Rather, defendant seeks to show actual prejudice based on the

8    ground that his defense will be impaired because of the delay.

9    In evaluating prejudice, the court must assess “how much the

10   defense was actually impaired, recognizing that prejudice of this

11   sort cannot be proved easily,” and “then balance that impairment

12   with the degree of the government’s dalliance.”         Id.   The

13   defendant’s “[p]roof of prejudice must ‘be definite and not

14   speculative.’”    United States v. Manning, 56 F.3d 1188, 1194 (9th

15   Cir. 1995) (quoting United States v. Butz, 982 F.2d 1378, 1380

16   (9th Cir. 1993)).

17              Defendant in this case contends the twenty-six-month

18   delay in his arrest will impair his defense because certain phone

19   records relevant to the charge against him are no longer

20   available.   Specifically, the government seeks to prove that, on
21   August 18, 2010, Agent Palmer ordered methamphetamine from

22   Padilla while meeting with Padilla at an auto repair shop and

23   defendant delivered the methamphetamine to Padilla.           The evidence

24   suggests that Padilla ordered the drugs by placing a call on a

25   landline in the auto repair shop that had the number (707) 652-

26   2603 (the “(707)-line”).     Defendant does not deny that he was at
27   the auto repair shop at the time of the charged methamphetamine

28   transaction, but contends that he was there only to discuss
                                         10
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 11 of 16


1    repairs Padilla had performed to his truck and that he did not

2    deliver the methamphetamine.       To effectively present this

3    theory, it would strongly assist defendant if he can identify the

4    number Padilla called from the (707)-line to order the

5    methamphetamine and show that the number and person called have

6    no connection to him.

7               Of course, if defendant is in fact guilty, it could be

8    argued that it is speculative to assume that he would benefit

9    from identifying that telephone number.        Although defendant has

10   presented evidence that his cell phone did not receive a call

11   from the (707)-line on the date in question, the number called

12   could have belonged to someone else associated with him.           But in

13   assessing the relevance of that information, the court,

14   consistent with the presumption of innocence, must assume the

15   defendant is innocent.3     Making that assumption, identifying the

16   phone number Padilla called would be of substantial value to

17   defendant’s defense, because it would enable him to ultimately

18   show that he is not connected with the number or person Padilla

19   called to order the methamphetamine and thus that he did not

20   deliver the drugs.    The government could still argue that the
21        3
               “The evils at which the [Speedy Trial] Clause is
22   directed are readily identified. It is intended to spare an
     accused those penalties and disabilities--incompatible with the
23   presumption of innocence--that may spring from delay in the
     criminal process.” Dickey v. Florida, 398 U.S. 30, 41 (1970)
24   (Brennan, J., concurring); see also Kaley v. United States, ---
     U.S. ----, ----, 134 S.Ct. 1090, 1110-11, (2014) (“‘The
25   presumption of innocence, although not articulated in the
26   Constitution, is a basic component of a fair trial under our
     system of criminal justice.’ Whatever serious crimes the grand
27   jury alleges the [defendants] committed, they are presumptively
     innocent of those charges until final judgment.” (quoting Estelle
28   v. Williams, 425 U.S. 501, 503 (1976))).
                                     11
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 12 of 16


1    person called was somehow associated with defendant, but without

2    some evidence beyond pure speculation to connect defendant to

3    that person it is difficult to imagine how the government could

4    sustain a conviction.

5               The records from the (707)-line are therefore integral

6    to defendant’s ability to persuasively present his theory that he

7    was simply in the wrong place at the wrong time.

8               Whether Padilla in fact used the (707)-line to order

9    methamphetamine on August 18 has been a source of disagreement

10   between the parties and ultimately the catalyst for the court

11   granting defendant’s motion to reveal the identity of the

12   confidential informant and holding an evidentiary hearing.          A

13   report Agent Sarah Mauricio prepared after a second purchase of

14   methamphetamine from Padilla on August 31, 2010 states:

15   “[Confidential informant] also provided the phone number (707)

16   652-2603, which was identified as the phone line PADILLA uses

17   when placing an order for a delivery of narcotics.”          (Docket No.

18   95-2.)   Although defendant was not involved in the sale on August

19   31, he claims this statement showed Padilla customarily uses the

20   (707)-line to order methamphetamine.       The government argues that
21   the statement about the use of the 707-line to order narcotics

22   was limited to the sale on August 31.

23              At the hearing, the confidential informant denied

24   knowledge of Padilla’s phone number and testified that he did not

25   tell any of the agents that Padilla uses the 707-line to order

26   narcotics.4   Agent Mauricio testified that she could not recall
27
          4
               For numerous reasons, including his demeanor while
28   testifying, prior multiple felony convictions, and inconsistent
                                     12
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 13 of 16


1    whether Agent Palmer or the confidential informant told her about

2    the (707)-line, but that one of them gave her that number as the

3    line “used” on August 31.     Although the government provided Agent

4    Mauricio’s handwritten notes from August 31 to show that there

5    was no notation about the use of that line, the last entry of her

6    notes states, “707-652-2603 → Danny’s hard line inside shop.”

7    Agent Palmer credibly testified at the hearing that he observed

8    Padilla order the methamphetamine from a landline in the auto

9    repair shop on August 18.     In his report from the August 18

10   transaction, he also states: “At approximately 2:31 p.m.,

11   [confidential informant] received an incoming call from phone

12   number 707-652-2603.     [Confidential informant] recognized the

13   caller as Danny . . . .”     (Docket No. 95-4.)     The August 2010

14   Comcast phone bill for the auto repair shop also identifies the

15   707-line as one of two lines on that account.5        (Docket No. 107

16   at 12.)   After considering all of the evidence presented, the

17   court has no reason to doubt that Padilla ordered the

18   methamphetamine on August 18 by placing a call on the (707)-line.

19              To show that Padilla did not call him or anyone

20   connected to him to order the methamphetamine on August 18,
21   defendant sought and the court granted a Federal Rule of Criminal

22   Procedure 17(c) subpoena to Comcast Cable Communications, LLC

23   (“Comcast”) requiring the production of “calls placed to and

24   testimony, the court did not find the confidential informant
25   credible.
           5
               Although the Comcast bill identifies two lines for the
26   account, neither of the parties suggested that this second line
     was used and, even if it was, the court assumes the records for
27   the second would similarly be unavailable due to the lapse of
     time.
28
                                         13
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 14 of 16


1    from” the 707-line during 2010.      (Docket No. 78.)     Complete phone

2    records for the 707-line, however, are no longer available due to

3    the delay in defendant’s arrest because Comcast retains its

4    complete records for only two years.6

5               The actual prejudice defendant claims rises above

6    claims of prejudice based on speculation and generalized

7    assertions that the Ninth Circuit has found insufficient.          For

8    example, in Corona-Verbera, the defendant’s claim of prejudice

9    “based on generalized speculation as to what lost or deceased

10   witnesses would have said” was insufficient in the absence of

11   evidence showing how the witnesses would have testified at trial

12   and how that evidence would have aided the defendant.          509 F.3d

13   at 1113; accord United States v. Sherlock, 962 F.2d 1349, 1354

14   (9th Cir. 1989).    Similarly, the Ninth Circuit rejected a claim

15   of prejudice based on the loss of credit card records that “could

16   have explained [defendant’s] location at the time of the killing”

17   because the defendant did not “specifically state[] what the

18   credit card records would show.”         Manning, 56 F.3d at 1194.

19
          6
               In its response to the subpoena, Comcast represented
20   that after an extensive off-site search, it could “only verify”
21   three incoming and three outgoing calls on the (707)-line “from
     6/29/2010 to 12/9/2010.” (Docket No. 95-9; see also Docket No.
22   107 at 3.) None of the identified calls occurred in August. The
     Comcast bill for the auto repair shop, however, indicates that
23   domestic calls were made on at least one of the two lines in
     August, (see Docket No. 107 at 12), and Agent Palmer’s report
24   memorializes a call being made on the (707)-line on August 18,
25   (Docket No. 95-4). Although defendant could have offered more
     direct evidence to show that the Comcast records are incomplete,
26   the government has not suggested that they are complete and the
     evidence indicates they are not. Defendant has therefore
27   sufficiently shown that the Comcast records for the (707)-line in
     August 2010 are incomplete due to the government’s delay.
28
                                         14
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 15 of 16


1               Here, defendant has presented sufficient evidence

2    showing that Padilla ordered methamphetamine using the (707)-line

3    and that the destroyed Comcast records would have identified the

4    number Padilla called.     If he had the records showing which

5    numbers were called from that number during the relevant time

6    period, defendant would be able to show that it was not his phone

7    or the phone of any one associated with him.        If he had been

8    arrested reasonably soon after indictment, there is good reason

9    to believe those records could have been produced in response to

10   his subpoena.    Because of the delay caused by the government,

11   those records are unavailable.      This is neither speculation nor

12   some generalized assertion of prejudice.

13              This prejudice strikes at the core of defendant’s

14   defense and was caused solely by the government’s decision to

15   cease what should have been a relatively simple effort to locate

16   him.   When balancing all of the factors, the only one that weighs

17   slightly in favor of the government is that the delay was twenty-

18   six months and did not reach an extreme duration exceeding five

19   years as in other cases.     The length of the delay alone, which

20   was still more than double the minimal threshold, cannot alone
21   save the day for the government if the Sixth Amendment is to have

22   any meaning outside of cases with extreme delays.         Here, the

23   government was not diligent in searching for defendant and the

24   resulting delay in defendant’s arrest caused him actual prejudice

25   by depriving him of evidence that would undeniably tend to prove

26   his innocence.
27              Although defendant has not advanced a flawless theory

28   of actual prejudice, he does not rely on speculation alone and,
                                         15
     Case 2:11-cr-00101-WBS Document 113 Filed 04/11/14 Page 16 of 16


1    when balanced against the other factors, has made a sufficient

2    showing of prejudice under the facts of this case.         Accordingly,

3    the Sixth Amendment requires that the court grant defendant’s

4    motion to dismiss the Indictment.

5               IT IS THEREFORE ORDERED that defendant’s motion to

6    dismiss the Indictment be, and the same hereby is, GRANTED; and

7    the Indictment is hereby DISMISSED as against defendant Nelson

8    Mauricio Ponce Vasquez only.

9    Dated:   April 11, 2014

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         16
